     Case 1:18-cr-00309-LMM-LTW Document 109 Filed 08/17/21 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA
                                               Criminal Action No.:
      versus                                   1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


               MOTION IN LIMINE TO EXCLUDE EVIDENCE

      COMES NOW, the Defendant, Chalmer Detling, II, and hereby moves, in

limine, for the exclusion of specific and highly prejudicial evidence from trial.

Specifically, Mr. Detling moves to exclude any evidence of “crimes, wrongs, or

other acts” under Federal Rule of Evidence 404(b).

      The pretrial scheduling order in this case requires that the government

provide notice of its intention to introduce evidence of “crimes, wrongs, or other

acts” pursuant to Rule 404(b) “as soon as practicable after the government has

determined to use such evidence” but no later than fourteen days before trial if the

alleged acts occurred within the Northern District of Georgia and twenty-one days

before trial if the alleged acts occurred outside of the district. (Doc. 15 at 6-7). As

these deadlines have not yet been reached and Mr. Detling has not received any

such notice from the government, Mr. Detling preserves an objection to the

admission of any Rule 404(b) evidence.
     Case 1:18-cr-00309-LMM-LTW Document 109 Filed 08/17/21 Page 2 of 2




      Additionally, Mr. Detling moves to exclude any evidence of “crimes,

wrongs or other acts” that the government intends to argue are exceptions to Rule

404(b) because they are either: (1) part of the same transaction or series of

transactions as the charged offense, (2) necessary to complete the story of the

crime, or (3) inextricably intertwined with the evidence regarding the charged

offense.



      Dated: This 17th day of August, 2021.


                                Respectfully Submitted,

                                /s/ Caitlyn Wade
                                Caitlyn Wade
                                Georgia Bar No. 259114

                                s/ Suzanne Hashimi
                                Suzanne Hashimi
                                State Bar No. 335616

                                Attorneys for Mr. Detling




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